                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

SYNGENTA CROP PROTECTION,                       )
LLC,                                            )
                                                )
                     Plaintiff,                 )
                                                )
             v.                                 )      1:15-CV-274
                                                )
WILLOWOOD, LLC, WILLOWOOD                       )
USA, LLC, WILLOWOOD                             )
AZOXYSTROBIN, LLC, and                          )
WILLOWOOD LIMITED,                              )
                                                )
                     Defendants.                )

                                        ORDER

      The plaintiff, Syngenta Crop Protection, LLC, prevailed at trial on its claim that

Willowood USA, LLC and Willowood, LLC (hereinafter Willowood) infringed

Syngenta’s U.S. Patent No. 8,124,761 (the ‘761 Patent). See Doc. 319, Issues 7 and 8.

Syngenta now seeks a permanent injunction restraining Willowood from future

infringement. Doc. 340. Willowood seeks an order allowing it to use infringing

azoxystrobin technical imported before the jury’s verdict. Doc. 338.

      The Court finds as a fact that:

   1. Syngenta and Willowood are direct competitors in the sale of fungicides containing

azoxystrobin. Syngenta has been selling azoxystrobin fungicides for years. Willowood

entered the market with generic azoxystrobin fungicides in approximately 2014.

   2. Willowood’s azoxystrobin fungicide products are manufactured using azoxystrobin

technical made by a process protected by Syngenta’s valid and unexpired’761 Patent.




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Willowood imported the azoxystrobin technical, used it to formulate and manufacture its

fungicides, and sold those fungicides in the United States, thus infringing Syngenta’s ‘761

Patent.

   3. The process set forth in the ‘761 Patent provides a higher yield with fewer

impurities using lower and safer temperatures than previous production methods. Previous

production methods thus had higher costs. Azoxystrobin technical manufactured by the

‘761 process does not result in fungicide products that are more desirable to the customer,

except to the extent it allows the seller to reduce the price. Price is important to buyers.

   4. The jury rejected Willowood’s evidence that it did not use azoxystrobin made with

the ‘761 process and Willowood has presented no specific evidence that azoxystrobin

made by a non-infringing process is easily available on the market.

   5. Willowood sells its azoxystrobin fungicides at lower prices than Syngenta sells its

azoxystrobin fungicides. While there are other generic sellers of azoxystrobin fungicides,

they have a very small market share.

   6. Willowood’s infringement has caused Syngenta irreparable harm, in that Syngenta

lost sales and had to lower its prices to meet Willowood’s generic prices, resulting in price

erosion. Even with an injunction, Syngenta will not be able to raise its prices back to pre-

infringement levels. Without an injunction, prices are likely to erode further and

Syngenta’s reputation would be harmed to some extent if its customers believe it does not

enforce its intellectual property rights.

   7. Syngenta has not licensed the ‘761 Patent to any other users and maintains

exclusivity.

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   8. There are potential regulatory hurdles that any competitor not using the ‘761

patented process might have to meet, which may delay entry into the market.

   9. Syngenta’s monetary damages for price erosion are difficult to quantify and prove

with specificity, as the jury’s verdict rejecting Syngenta’s damages calculations shows.

The evidence at trial was compelling that Syngenta suffered some lost sales and price

erosion damages as a result of Willowood’s infringing sales, even though those damages

were not proven as to amount. As time passes the difficulty increases.

   10. It would infringe the ‘761 Patent for Willowood to use the azoxystrobin technical

Willowood imported before the jury verdict by formulating or selling it.

   11. Monetary damages are insufficient to fully compensate Syngenta for its injuries.

They would not fully compensate Syngenta for lost sales, loss of market share, or for price

erosion. The damages to Syngenta are caused by the sale, not the importing.

   12. Without an injunction, Syngenta will be forced to compete with its own patented

technology and will have increased difficulty in otherwise enforcing its patent rights

against other infringers. Every sale by Willowood is a sale that Syngenta cannot make and

further price erosion is likely. These are significant hardships.

   13. If an injunction is entered, Willowood will suffer minimal hardships going forward,

as it will be prohibited only from importing or selling azoxystrobin manufactured using the

infringing process. If Willowood wants to stay in the azoxystrobin fungicide market, it can

do so without infringing; there is a known non-infringing process that Willowood can use,

if it is willing to bear the costs of developing a supplier and meeting any regulatory

requirements. While Willowood will incur a significant financial loss in connection with

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azoxystrobin it has already imported and that it cannot use, that is a loss that fairly falls on

Willowood, which is the infringing party.

   14. Balancing the hardships weighs in Syngenta’s favor.

   15. The public interest is served by protection and enforcement of Syngenta’s patent

rights. There are numerous other non-azoxystrobin fungicide products available on the

market, so the public will still have many choices. Enforcement of Syngenta’s property

rights will not impede or undermine public health or safety.

   16. The ‘761 Patent expires on April 15, 2029.

       Based on these findings of fact, the Court concludes that Syngenta has met its

burden and is entitled to a permanent injunction. The Court further concludes that

Willowood should not be allowed to use the azoxystrobin technical previously imported to

manufacture fungicide products or to sell any such fungicide products, as such actions

would constitute new acts of infringement causing new and additional damages not taken

into account by the jury’s verdict.

       It is ORDERED that Syngenta’s motion for a permanent injunction, Doc. 340, is

GRANTED. The injunction will be entered separately.

       It is further ORDERED that Willowood’s motion to sell azoxystrobin imported

into the United States before the jury’s verdict, Doc. 338, is DENIED.

      This the 20th day of November, 2017.




                                            __________________________________
                                             UNITED STATES DISTRICT JUDGE

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